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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                         Plaintiff,                 Civil Action No. 2:15-cv-998-JRG-JRP

                  v.                                   CONSOLIDATED LEAD CASE

  NVIDIA CORPORATION, et al.,

                         Defendants.

                                       ORDER OF DISMISSAL

         Before the Court is Plaintiff Display Technologies, LLC (“Plaintiff”) and Defendant

 Samsung Electronics America, Inc.’s (“Defendant”) (collectively, the “Parties”), Joint Motion to

 Dismiss.

         The Court, having considered the Parties’ Motion, finds that the Motion should be
 .
 GRANTED.

         IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims in this action

 against Defendant are dismissed WITH prejudice.

         IT IS ORDERED, ADJUDGED, AND DECREED that Defendant’s counterclaims in this

 action against Plaintiff are dismissed WITHOUT prejudice.

                 IT IS FURTHER ORDERED that each party shall bear its own costs, expenses, and

 all attorneys’ fees.

         SO ORDERED.
          SIGNED this 3rd day of January, 2012.
         SIGNED this 22nd day of March, 2016.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
